                        EXHIBIT A




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                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                                     Statesville Division
                        Civil Action No.5:16-cv-00009-KDB-DCK



DELORIS GASTON,et aL,

        Plaintiffs,

V.

                                                 SETTLEMENT AGREEMENT
LEXISNEXIS RISK SOLUTIONS INC.,et aL,            AND RELEASE


        Defendants.




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       This Settlement Agreement and Release ("Settlement Agreement") is made and entered

into by Plaintiffs Deloris Gaston and Leonard Gaston (the "Named Plaintiffs") and Defendants
PoliceReports.US,LLC("PRUS"),LexisNexis Risk Solutions Inc.("LNRS"),LexisNexis Claims
Solutions Inc. ("LN Claims"), and LexisNexis Coplogic Solutions Inc. ("LN Coplogic") (the
"Defendants")(collectively, the "Parties") and their counsel as of October 7, 2020, in the case

captioned Gaston, et al. v. LexisNexis Risk Solutions Inc., et al, Case No. 5:16-cv-00009
(W.D.N.C.), and is submitted to the Court for approval pursuant to Fed. R. Civ. P. 23.

1.      RECITALS

        WHEREAS,on January 12, 2016, Named Plaintiffs brought a putative class action in the

United States District Court for the Western District of North Carolina, alleging that Defendants

violated the Driver's Privacy Protection Act, 18 U.S.C. § 2721,et seq.("DPPA")by selling crash

reports to third parties for marketing and solicitation purposes; and

        WHEREAS, the Amended Complaint alleges a claim under the DPPA on behalf of one

putative class defined as follows:"All persons in the United States who,on or after, four(4)years

prior to the date ofthis filed complaint, through the final disposition ofthis or any related actions

(the 'Class Period'), had their personal information from motor vehicle records maintained by their
State Motor Vehicle Departments used to create a motor vehicle accident report,or whose personal

information is contained within a motor vehicle accident report created by a State Motor Vehicle

Department, and whose personal information was directly and knowingly obtained, used, re-

disclosed, and/or resold, for purposes not authorized by the DPPA, and without their express

consent, by the named Defendants"(Am. Compl. T| 78);

        WHEREAS,Named Plaintiffs moved for class certification (Dkt. No. 101) and summary

judgment(Dkt. No. 107), which were opposed by Defendants (Dkt. Nos. 122, 124)on numerous



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grounds;

       WHEREAS,over Defendants' objection and argument,a limited Rule 23(b)(2)injunctive

relief class and subclass were certified by the Court on September 2,2020(Dkt. No. 148)and the

Court granted summaryjudgment on Named Plaintiffs' claims for declaratory and injunctive relief
with respect to the Rule 23(b)(2) subclass

       WHEREAS,Defendants filed a notice pursuant to 28 U.S.C. §§ 1291-92 and the collateral

order doctrine, to appeal to the United States Court of Appeals for the Fourth Circuit from the

Order of the United States District Court for the Western District of North Carolina, entered on

September 2, 2020(Dkt. No. 148)on September 8,2020, and Plaintiffs filed a notice pursuant to
28 U.S.C. §§ 1291-92 and the collateral order doctrine, to appeal to the United States Court of
Appeals for the Fourth Circuit from the Order ofthe United States District Court for the Western
District ofNorth Carolina, entered on September 2,2020(Dkt. No. 148)on October 1,2020;

       WHEREAS, Defendants deny each and every one of Named Plaintiffs' allegations of

wrongful conduct and damages, and Defendants have asserted numerous defenses to Named
Plaintiffs' claim and disclaim any wrongdoing or liability whatsoever,and Defendants further deny

that this matter satisfies the requirements to be tried as a class action under Fed. R. Civ. P.23; and
        WHEREAS, absent this Settlement Agreement, the Parties would have pursued their

challenges ofthe district court's interlocutory order ofSeptember 2,2020 on appeal and otherwise;
and


        WHEREAS, this Settlement Agreement has been reached after the Parties exchanged

discovery and a substantial number ofdocuments and information relevant to the Named Plaintiffs'
claims, and is a product of sustained, arm's length settlement negotiations over the course of
several mediation sessions; and



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       WHEREAS,during the course of the mediation process and negotiations and in light of

the district court's interlocutory order of September 2, 2020, the Named Plaintiffs analyzed and

acknowledged the risks associated with litigating a Rule 23(b)(3) class; and

       WHEREAS,during the course ofthe mediation process and the negotiations to resolve this

matter, the Parties determined that members of the proposed Settlement Class and Subclass may

be the subject of a crash report in the future, and therefore, such class members are likely to raise

the same issues and concerns regarding Defendants' alleged business practices of disclosing crash

reports in the future, whether yet resolved in law or not, unless substantial changes to those
practices are implemented in the Settlement Agreement; and

        WHEREAS,in light of the above, the most effective way to afford the Settlement Class

and Subclass full and final relief in a negotiated resolution of their claims is to implement a

program ofinjimctive relief; and

        WHEREAS,during the course ofdiscussing the nature and scope ofsuch injunctive relief,

it became apparent that a settlement would need to provide injunctive relief consistently across the
country because Defendants operate on a nationwide basis; and

        WHEREAS, the injunctive relief detailed in this Settlement Agreement represents a

substantial shift from Defendants' current business practices and industry-wide practices for the

disclosure of crash reports; and the Named Plaintiffs and Defendants further believe that the
injunctive relief provides reasonable practices relating to disclosing crash reports to third parties;
and


        WHEREAS,the Named Plaintiffs and Defendants recognize the outcome ofthis matter is

uncertain, and that a final resolution through the litigation process could require protracted
adversarial litigation and appeals; substantial risk and expense; the distraction and diversion of


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Defendants' personnel and resources and the expense of any possible future litigation raising
similar or duplicative claims; and the Named Plaintiffs, Defendants, and their counsel have agreed
to resolve this matter as a settlement class action according to the terms of this Settlement

Agreement; and

       WHEREAS, the Parties believe that this Settlement Agreement is fair, reasonable, and

adequate in its resolution of the claims brought by the putative class because it:(1) provides for
certification of a Fed. R. Civ. 23(b)(2) Settlement Class and Fed. R. Civ. P. 23(b)(2) CMPD

Settlement Subclass, and Defendants maintain that certification of any class for trial purposes

would not be proper under Fed.R.Civ. P.23;(2)provides comprehensive current and prospective,
industry-changing injunctive relief to the Fed. R. Civ. P. 23(b)(2) Settlement Class and Fed. R.

Civ.P.23(b)(2)CMPD Settlement Subclass;(3)preserves the rights ofthe Fed. R. Civ.P.23(b)(2)

Settlement Class Members and Fed. R. Civ. P. 23(b)(2) CMPD Settlement Subclass Members to

bring an individual lawsuit imder 18 U.S.C. § 2724 for clsiims of any actual damages they claim

to have sustained;(4) releases only the equitable claims and claims for punitive damages to the

extent available, known or unknown,by any class member based on the DPPA and any analogous

state statutes and waives further use ofthe class action and mass action procedural device; and(5)

does not prejudice in any way the Parties' right to raise any ofthe arguments that the Parties made

in this case, including arguments decided by the district court in its interlocutory order of

September 2,2020,in any future litigation.

        NOW, THEREFORE, without (a) any admission or concession on the part of Named

Plaintiffs of the lack of merit of the Litigation whatsoever, or(b)any admission or concession of

liability or wrongdoing or the lack of merit ofany defense whatsoever by Defendants, it is hereby

stipulated and agreed by the undersigned, on behalf of the Named Plaintiffs, the Fed. R. Civ. P.


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23(b)(2) Settlement Class, the Fed. R. Civ. P. 23(b)(2) CMPD Settlement Subclass, and the
Defendants, that this matter and all claims of the Fed. R. Civ. P. 23(b)(2) Settlement Class and

Fed. R. Civ. P. 23(b)(2) CMPD Settlement Subclass be settled, compromised, and dismissed on
the merits and with prejudice as to Defendants, subject to Court approval as required by Fed. R.

Civ. P. 23, on the terms and conditions set forth herein.

       The recitals stated above are true and accurate and are hereby made a part ofthis Settlement

Agreement.

2.      DEFINITIONS

        For the purposes of this Settlement Agreement, including the recitals stated above, the

following terms will have the following meanings:

        2.1    "eCommerce Web Portal" means the online web portal previously owned by PRUS

               (policereports.us) and the    portal    currently    owned     by    LN     Claims
               (policereports.lexisnexis.com)that provides the public with online access to Crash

               Reports on behalfoflaw enforcement agencies.

        2.2    "Crash Report" means an automobile crash report prepared by a law enforcement

               agency.


        2.3    "CAFA Notice" means notice (in a form substantially similar to that attached as

               Exhibit B and approved by the Court) of this settlement to the appropriate federal

               and state officials, as provided by the Class Action Fairness Act of2005,28 U.S.C.

               § 1715, and as further described in Section 4.1.4.

        2.4    "Claim" and "Claims" mean all claims, coimterclaims, demands (including,

               without limitation, demands for arbitration), actions, suits, causes of action,

               allegations of wrongdoing, and liabilities.

        2.5    "Class Counsel" means the attorneys and law firms appointed as class counsel in
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         the District Court's interlocutory Order of September 2, 2020, and who will

         represent the Named Plaintiffs and the Rule 23(b)(2) Settlement Class and Rule
         23(b)(2) CMPD Settlement Subclass.

   2.6   "Commercial User" or"Commercial Users"refers to those users on the eCommerce

         Web Portal who have submitted an application and agreement for commercial

         access to the eCommerce Web Portal and who are billed on a monthly basis for

         each Crash Report downloaded.

   2.7   "Court" means the United States District Court for the Western District of North

          Carolina where this Litigation is pending.

   2.8   "Defendants" mean PoliceReports.US, LLC, LexisNexis Risk Solutions Inc.,

          LexisNexis Claims Solutions Inc., and LexisNexis Coplogic Solutions Inc.

   2.9   "Effective Date" means the date on which all appellate rights with respect to the

          Final Judgment and Order have expired or have been exhausted in such a manner

          as to affirm the Final Judgment and Order, and when no further appeals are

          possible, including review by the United States Supreme Court.

   2.10 "DPPA" means the federal Driver's Privacy Protection Act, 18 U.S.C. § 2721, et

          seq.


   2.11 "DPPA State Equivalents" means any statute or regulation ofany State,the District

          of Columbia, or Puerto Rico, that has the purpose or effect of regulating the

          obtainment, use, or disclosure of the same or similar information that meets the

          definition of "personal information" "from a motor vehicle record" imder the

          DPPA.


   2.12 "Final Judgment" or "Final Judgment and Order" means a finaljudgment and order


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          of dismissal entered by the Court in this Litigation granting final approval of this

          Settlement Agreement(including Class Counsel's request for attorneys' fees,costs,

          and other expenses and Named Plaintiffs' requests for Service Awards), and

          entering ajudgment according to the terms set forth in this Settlement Agreement.

   2.13 "Injunctive Relief means the injunctive relief program to which the Defendants
          have agreed and which benefits the Rule 23(b)(2) Settlement Class and Rule

          23(b)(2) CMPD Settlement Subclass, as further described in Section 4.2.

   2.14 "Injunctive Relief Order" means the consent order attached as Exhibit A to this
          Settlement Agreement and proposed by the Parties for entry by the Court intended

          to require and accomplish the Injunctive Relief that in no way imposes any
          obligation, duty or responsibility on the Defendants or creates a right on behalf of
          the Rule 23(b)(2) Settlement Class or Rule 23(b)(2) CMPD Settlement Subclass

          beyond what is described in the Injunctive Relief.

   2.15 "Involved Party" or "Involved Parties" refers to users on the eCommerce Web
          Portal who are not Commercial Users and who purchase Crash Reports via credit

          card on a transactional basis. Involved Parties may include, for example, persons

          involved in the accident, their counsel, or their insurers.

   2.16 "Litigation" means the civil action captioned Gaston, et al. v. LexisNexis Risk
          Solutions Inc., et al. Case No.5:16-cv-00009,pending in the United States District

          Court for the Western District of North Carolina.

   2.17   "LNRS" means LexisNexis Risk Solutions Inc.

   2.18   "PRUS" means PoliceReports.US,LLC.

   2.19   "LN Claims" means LexisNexis Claims Solutions Inc., which is the entity that




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          acquired PRUS on August 4,2014.

   2.20 "LN Coplogic" means LexisNexis Coplogic Solutions Inc.

   2.21 "Monthly Subscription Service" means the subscription service offered on the
          eCommerce Web Portal where customers can access the most recent 750 Crash

          Reports available from the agency(ies)to which they subscribe.

   2.22   "Named Plaintiffs" means Deloris Gaston and Leonard Gaston, collectively and

          individually.

   2.23 "Party" and "Parties" mean the Named Plaintiffs, the Rule 23(b)(2) Settlement

          Class, the Rule 23(b)(2) CMPD Settlement Subclass and the Defendants.

   2.24 "Preliminary Approval" and "Preliminary Approval Order" mean the Court's order

          certifying the tentative Rule 23(b)(2)Settlement Class, preliminarily approving the

          proposed settlement, appointing a Settlement Administrator, and appointing Class
          Counsel.


   2.25   "Released Parties" means LNRS,PRUS,LN Claims, and LN Coplogic and each of

          their past and present employees,parents and subsidiaries and affiliate corporations

          or other business entities, members,officers, directors, employees,agents, vendors,

          contractors, personal representatives, insurers, attorneys, assigns and third-party

          users.



   2.26 "Rule 23(b)(2) Settlement Class" or "Rule 23(b)(2) Settlement Class Members"

          means all persons who:(i) at any time within the four years prior to the date the

          Complaint was filed through the date ofFinal Judgment,(ii) had his or her personal

          information (including a driver identification number, name, address, or telephone

          number) appear on a Crash Report, and (iii) that Crash Report was available for


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              purchase via an online solution supported, owned or operated by or on behalf of
              PoliceReports.US, LLC or LexisNexis Claims Solutions Inc. Excluded from the

              Rule 23(b)(2) Settlement Class are counsel of record (and their respective law

              firms) for any of the Parties, employees of Defendants, and any judge presiding

              over this action and their staff, and all members oftheir immediate families.

        2.27 "Rule 23(b)(2) CMPD Settlement Subclass" or "Rule 23(b)(2) CMPD Settlement

              Subclass Members" means all persons who:(i) are members of the Rule 23(b)(2)

              Settlement Class, and (ii) whose Crash Report was prepared by the Charlotte-

              Mecklenburg Police Department("CMPD").

        2.28 "Rule 23(b)(2) Settlement Class Released Claims" means those Claims that the

              Rule 23(b)(2) Class Members and Rule 23(b)(2) CMPD Settlement Subclass

              Members are releasing, as set forth in Section 4.4.

        2.29 "Service Award" means the one-time payment to each ofthe Named Plaintiffs, for

              the time and resources each has put into representing the Rule 23(b)(2) Settlement

               Class and Rule 23(b)(2) CMPD Settlement Subclass, as set forth in Section 4.3.2.

        2.30 "Settlement Administrator" means, subject to Court approval, American Legal

               Claim Services LLC.

3.      MOTION FOR PRELIMINARY APPROVAL

        As soon as reasonably practicable after the signing of this Settlement Agreement, the

Named Plaintiffs shall file with the Court a Motion for Preliminary Approval of the Proposed

Settlement, Conditional Certification of the Rule 23(b)(2) Settlement Class and Rule 23(b)(2)

CMPD Settlement Subclass, and Appointment of Class Counsel that seeks entry of an order that

would,for settlement purposes only:

               a)     preliminarily approve this Settlement Agreement;
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               b)      certify a conditional settlement class under Fed. R. Civ. P. 23(b)(2)
                       composed of the Rule 23(b)(2) Settlement Class Members and Rule

                       23(b)(2) CMPD Settlement Subclass Members; and

               c)      appoint Class Counsel.

4.      RULE 23(b)(2)SETTLEMENT

        4.1    Certification of Rule 23(b)(2) Settlement Class and Rule 23(b)(2) CMPD

               Settlement Subclass


               4.1.1   Class Definition

        For purposes ofsettlement only, and upon the express terms and conditions set forth in this

Settlement Agreement, Named Plaintiffs and Defendants agree to seek certification of a

mandatory, nationwide Rule 23(b)(2) Settlement Class and Rule 23(b)(2) CMPD Settlement

Subclass in the Litigation pursuant to Fed. R. Civ. P. 23(b)(2) as follows:

        Settlement Class: All persons who:(i) at any time within the four years prior to the
        date the Complaint was filed through the date ofFinal Judgment,(ii) had his or her
        personal information (including a driver identification number, name, address, or
        telephone number) appear on a Crash Report, and (iii) that Crash Report was
        available for purchase via an online solution supported, owned or operated by or on
        behalfofPoliceReports.US, LLC or LexisNexis Claims Solutions Inc.

        Settlement Subclass: All persons who: (i) are members of the Rule 23(b)(2)
        Settlement Class, and (ii) whose Crash Report was prepared by the CMPD.

        Excluded from the Settlement Class and Settlement Subclass are counsel ofrecord
        (and their respective law firms) for any of the Parties, employees of Defendants,
        and any judge presiding over this action and their staff, and all members of their
        immediate families.


               4.1.2 No Right to Opt Out

        Because the Rule 23(b)(2) Settlement Class and Rule 23(b)(2)CMPD Settlement Subclass

are being certified as a mandatory class imder Fed. R. Civ. P. 23(b)(2), Rule 23(b)(2) Settlement

Class Members and Rule 23(b)(2) CMPD Settlement Subclass Members shall not be permitted to

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opt out ofthe Rule 23(b)(2) Settlement Class or Rule 23(b)(2) CMPD Settlement Subclass.
               4.1.3 Class Certified for Settlement Purposes Only

       The Defendants contend that this Litigation could not be certified as a class action under

Fed. R. Civ. P. 23 for trial purposes. Nothing in this Settlement Agreement shall be construed as

an admission by Defendants that this Litigation or any similar case is amenable to class

certification for trial purposes. Furthermore, nothing in this Settlement Agreement shall prevent

Defendants fi"om pursuing the appeal of the Order of the United States District Court for the

Western District of North Carolina, entered on September 2, 2020 (Docket No. 148), further

opposing class certification or seeking de-certification ofthe conditionally certified tentative Rule
23(b)(2) Settlement Class and Rule 23(b)(2) CMPD Settlement Subclass if final approval of this
Settlement Agreement is not obtained, or not upheld on appeal, including review by the United

States Supreme Court, for any reason, or if any of the conditions exist that permit Defendants to
terminate this Settlement Agreement in accordance with Section 6.

               4.1.4   CAFA Notice


        The Parties agree that Defendants shall serve notice of the settlement that meets the

requirements of the Class Action Fairness Act of 2005 ("CAFA"), 28 U.S.C. § 1715, on the
appropriate federal and state officials not later than ten days after the filing of this Settlement
Agreement with the Court using the Settlement Administrator. A proposed form ofCAFA Notice,
without the accompanying attachments, is attached as Exhibit B.

        The Defendants shall file with the Court a certification of the date upon which the CAFA

Notice was served.

        The costs ofthe settlement administrator will be borne by the Defendants and will not be

deducted by any amounts awarded to Plaintiffs or Class Counsel for damages,class representation.


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attorneys fees, costs, or other expenses.

       4.2     Injunctive Relief

               4.2.1 Agreed Injunctive Relief

       Subject to the terms and conditions ofthis Settlement Agreement,the Named Plaintiffs and

Defendants have agreed to move jointly for the Court to enter an injunction applicable to

Defendants by consent, which will contain only the terms of the Injunctive Relief as described

herein, and as set forth in the Injunctive Relief Order. Plaintiffs pursued this Litigation to address

certain practices relating to the disclosure of crash reports on PRUS' eCommerce Web Portal,

including the disclosure of Crash Reports for alleged marketing and solicitation purposes.

Plaintiffs argued Defendants' practices violated the DPPA. Defendants contest that Crash Reports

are subject to the DPPA and otherwise deny that Defendants violated the DPPA. But to resolve
this dispute. Defendants have agreed to certain business changes relating to the disclosure ofCrash
Reports.

        The Court will adopt the Injunctive Relief Order attached as Exhibit A to this Settlement

Agreement,in which Defendants agree to:

             1. Implement changes to prohibit the use of Crash Reports purchased on the
                eCommerce Web Portalfor marketing and solicitation uses.

        Defendants agree to:(a) incorporate an express prohibition on marketing and solicitation

uses in the End User License Agreement on the eCommerce Web Portal;(b)incorporate an express

prohibition on marketing and solicitation in commercial user agreements on the eCommerce Web
Portal; and(c)add a user confirmation for no marketing and solicitation use before a Crash Report

is purchased on the eCommerce Web Portal.

             2 Eliminate the Monthly Subscription Service

        Defendants agree to eliminate the Monthly Subscription Service on the eCommerce Web

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Portal.

              3. Limit the disclosure ofCrash Reports.

          Defendants agree Crash Reports will only be disclosed if one of the following three
conditions are met:

      (a)Defendants have redacted the following information (to the extent such information is
included in a Crash Report): an individual's photograph, social security number, driver's license
number, first name, address (but not the 5-digit zip code), telephone number, and medical or
disability information (hereinafter, the "Personal Information"); OR

          (b) Defendants have obtained the consent of the person whose Personal Information
appears on the Crash Report; OR

      (c) The Crash Report is being disclosed to an "authorized recipient" as permitted by 18
U.S. Code § 2721(c) or for one of the following permissible uses as set out in 18 U.S.
Code § 2721(b)(1):

(1)For use by any government agency,including any court or law enforcement agency,in carrying
out its functions,or any private person or entity acting on behalfofa Federal, State, or local agency
in carrying out its functions.

(2)For use in connection with matters of motor vehicle or driver safety and theft; motor vehicle
emissions; motor vehicle product alterations, recalls, or advisories; performance monitoring of
motor vehicles, motor vehicle parts and dealers; motor vehicle market research activities,including
survey research; and removal of non-owner records from the original owner records of motor
vehicle manufacturers.

(3)For use in the normal course of business by a legitimate business or its agents, employees, or
contractors, but only—
(A)
to verify the accuracy of personal information submitted by the individual to the business or its
agents, employees, or contractors; and
(B)
if such information as so submitted is not correct or is no longer correct, to obtain the correct
information, but only for the purposes of preventing fraud by, pursuing legal remedies against, or
recovering on a debt or security interest against, the individual.

(4) For use in connection with any civil, criminal, administrative, or arbitral proceeding in any
Federal, State, or local court or agency or before any self-regulatory body,including the service of
process, investigation in anticipation of litigation, and the execution or enforcement ofjudgments
and orders, or pursuant to an order ofa Federal, State, or local court.

(5)For use in research activities, and for use in producing statistical reports,so long as the personal
information is not published, redisclosed, or used to contact individuals.

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(6) For use by any insurer or insurance support organization, or by a self-insured entity, or its
agents, employees, or contractors, in connection with claims investigation activities, antifraud
activities, rating or imderwriting.

(7)For use in providing notice to the owners oftowed or impounded vehicles.

(8) For use by any licensed private investigative agency or licensed security service for any
purpose permitted imder this subsection.

(9)For use by an employer or its agent or insurer to obtain or verify information relating to a holder
ofa commercial driver's license that is required under chapter 313 oftitle 49.

(10)For use in connection with the operation of private toll transportation facilities.

(11)For any other use in response to requests for individual motor vehicle records ifthe State has
obtained the express consent ofthe person to whom such personal information pertains.

(12) For bulk distribution for surveys, marketing or solicitations if the State has obtained
the express consent ofthe person to whom such personal information pertains.

(13)For use by any requester, ifthe requester demonstrates it has obtained the written consent of
Ae individual to whom the information pertains.

(14)For any other use specifically authorized under the law of the State that holds the record, if
such use is related to the operation ofa motor vehicle or public safety.

        Defendants may paraphrase the permissible uses defined in Section 4.2.1(3)(c)(l)-(14)to

the extent it is technologically necessary on the eCommerce Web Portal as long as it does not

substantially change the meaning.

        If Defendants disclose a Crash Report for one ofthe permissible uses under the DPPA (as

defmed in Section 4.2.1(3)(c)), Defendants will meet any obligation to have a "good faith belief

that the Crash Report will be used for a specific purpose permitted by the DPPA through the

following means:

        (a) With respect to Involved Parties, Defendants will require Involved Parties to affirm
 their anticipated use as defined in Section 4.2.1(3) before purchasing a Crash Report on the
 eCommerce Web Portal. Additionally, Defendants will require Involved Parties to enter one of

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the following sets of search criteria to search for a Crash Report on the eCommerce Web Portal:
         i.      State and jurisdiction and one ofthe following: Report number; last name and date

                 ofincident; last name and street;

         ii.     State and jurisdiction and at least two ofthe following: Last name,date ofincident,

                 street; or

        iii.     State,jurisdiction, report number and one of the following: name (first, last) and

                 date of incident; name (first, last) and street.

       A law enforcement agency may require that Defendants impose additional search criteria

       for Involved Parties to search for a Crash Report.

       (b) With respect to Commercial Users, Defendants will:

          i.     Require submission of an application and agreement, including, but not limited to,

                 the purpose of use;

         ii.     Implement a process to review Commercial Users' stated purpose ofthe use; and
        iii.      Reject any application and agreement in which the stated purpose ofuse references
                  marketing or solicitation or any other use not permitted by 18 U.S.
                  Code § 2721(b)(1).

               4. Log the users' use selection

        Defendants must keep for a period of five (5) years records identifying each person or

entity that receives a Crash Report on the eCommerce Web Portal and the purpose for which the
Crash Report will be used.

               5. Implement employee education and training

        Employees who work with Crash Reports on the eCommerce Web Portal will be required
to participate in annual training regarding the requirements ofthe Injunctive Reliefand the DPPA.


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Defendants shall keep records ofsuch training.

              4.2.2 Timetable for Implementation ofInjunctive Relief

                       4.2.2.1   With respect to the Rule 23(b)(2) CMPD Settlement Subclass,

                                 Defendants will implement the Injunctive Relief defined in

                                 Sections 4.2.1(3)-(4) within thirty (30) days of the Effective

                                 Date.


                       4.2.2.2   With respect to the Rule 23(b)(2) CMPD Settlement Subclass,

                                 Defendants will implement the Injunctive Relief defined in

                                 Sections 4.2.1(l)-(2) within three months ofthe Effective Date.

                       4.2.2.3   With respect to the Rule 23(b)(2) Settlement Class, Defendants

                                 will implement the Injunctive Relief defined in Sections

                                 4.2.1(l)-(5) within twelve months ofthe Effective Date.

                       4.2.2.4   Notwithstanding Section 4.2.2.1, if Defendants are unable to

                                 comply with this deadline. Defendants shall receive a reasonable

                                 extension oftime sufficient to permit completion ofthe task upon

                                 submission ofan application to the Court showing good cause for

                                 the extension.


               4.2.3   Sunset Provision

        With respect to the Rule 23(b)(2) Settlement Class,the obligations of Sections 4.2.1 ofthe
Injunctive Relief will expire the earlier of seven years from the Effective Date or November 1,
2027("Sunset Date"). With respect to the Rule 23(b)(2) CMPD Settlement Subclass, any relief
fi*om the obligations of Sections 4.2.1 of the Injunctive Relief must be obtained fi-om this Court
pursuant to Section 7.4.


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               4.2.4 Limitations on Injunctive Relief

       Any action by Defendants determined in good faith to be reasonably necessary to comply

with any federal law, enactment, regulation, or judicial ruling shall not constitute a breach of the

Settlement Agreement. In the event that any obligation that Defendants have agreed to undertake

as part of the Injunctive Relief becomes inconsistent with any future federal, state, or local law,
enactment, regulation, or judicial ruling or ifthe Settlement Class(or any subset) agree to impose

less stringent requirements on any competitor of Defendants, then Defendants shall be released

from performing such obligation after notice to the Court and Class Counsel. Any objection to

such change in procedure shall be made to the Court by Class Counsel within ten (10) days after
receipt ofsuch notice.

       4.3     Rule 23(b)(2)Settlement Class Service Awards and Attorneys' Fees

               4.3.1     Service Award to the Named Plaintiffs

        In advance of the Court's deadline for submission of objections. Named Plaintiffs shall

make an application to the Court for the Court's approval of a Service Award of $10,000.00 for
each Named Plaintiff. Defendants will not oppose a Service Award of$10,000.00 for each Named

Plaintiff.

        The Parties' negotiation of, and agreement to, the foregoing Service Awards did not occur

until after the substantive terms of the settlement had been negotiated and agreed upon. These

Service Awards shall constitute the sole consideration for such individuals being Named Plaintiffs

and shall be made separately from any attorneys' fees.

               4.3.2 Attorneys' Fees Amount

        Within ten(10)business days ofthe Final Approval Hearing, Class Counsel shall make an

application to the Court for an award of attorneys' fees, costs, and other expenses, for up to


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$5,130,000.00 for their representation of the Rule 23(b)(2) Settlement Class and Rule 23(b)(2)

CMPD Settlement Subclass,to be paid by the Defendants. Class Counsel's application shall also

request that the Court specifically approve all of the terms of this Agreement. Defendants agree
to support the application by Class Counsel for attorneys' fees, costs, and other expenses in an
amount up to $5,130,000.00, in the aggregate. The $5,130,000.00 award shall include all fees,
costs, and other expenses for Class Counsel(and their employees, consultants, experts, and other
agents) who performed work in connection with the Litigation ofthe claims on behalf ofthe Rule
23(b)(2) Settlement Class Members and Rule 23(b)(2) CMPD Settlement Subclass Members.
Regardless of the number of attorneys sharing in the Court's award of attorneys' fees, costs, and
other expenses, the Defendants shall not be required to pay any award to Class Counsel that
exceeds, in the aggregate, $5,130,000.00 in connection with the Rule 23(b)(2) Settlement Class
and Rule 23(b)(2) CMPD Settlement Subclass.

       This agreement with respect to attorneys'fees,costs,and other expenses was not negotiated
until after the substantive terms of the settlement, including the Injunctive Relief to the Rule

23(b)(2) Settlement Class and Rule 23(b)(2)CMPD Settlement Subclass, had been negotiated and
agreed upon.

               4.3.3 Payment Schedule

        Within the later ofeither(a)thirty(30)days after the Effective Date or(b)thirty(30)days

after Defendants' receipt of wiring instructions from Class Counsel and receipt of W9 forms
completed by the Named Plaintiffs and Class Counsel, Defendants will make payment of the
amount ofservice awards,attorneys' fees, and other expenses approved by the Court up to and not
 more than $5,150,000.00, in the aggregate, by wire transfer to the agent identified by Class
 Counsel.




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       4.4    Rule 23(b)(2)Settlement Class Release

              4.4.1   Scope of Release

       Upon the Effective Date, the Rule 23(b)(2) Settlement Class and Rule 23(b)(2) CMPD

Settlement Subclass shall be deemed to have released any and all equitable claims and claims for

punitive damages to the extent available by any Rule 23(b)(2) Settlement Class Member and any

Rule 23(b)(2) CMPD Settlement Subclass Member based on the DPPA and any DPPA State

Equivalents, and the Released Parties shall be fully, finally, and forever released and discharged

from any and all equitable claims and claims for punitive damages to the extent available by any

Rule 23(b)(2) Settlement Class Member and Rule 23(b)(2) CMPD Settlement Subclass Member

based on the DPPA and any DPPA State Equivalents, arising on or before the Effective Date that

Named Plaintiffs and the Rule 23(b)(2) Settlement Class and Rule 23(b)(2) CMPD Settlement

Subclass may have had.

       After entering into this Settlement Agreement, Named Plaintiffs or the Rule 23(b)(2)

Settlement Class or Rule 23(b)(2) CMPD Settlement Subclass may discover facts other than,

different from, or in addition to, those that they know or believe to be true with respect to the

Released Claims. Named Plaintiffs and the Rule 23(b)(2) Settlement Class Members and Rule

23(b)(2) CMPD Settlement Subclass Members expressly waive and fully, finally, and forever
settle and release any known or unknown,suspected or unsuspected,contingent or non-contingent

equitable claims and claims for punitive damages to the extent available based on the DPPA and
any DPPA State Equivalents against the Released Parties, whether or not concealed or hidden,and
without regard to the subsequent discovery or existence ofsuch other, different, or additional facts.
        Named Plaintiffs and the Rule 23(b)(2) Settlement Class and Rule 23(b)(2) CMPD

Settlement Subclass do not release and discharge, but instead preserve,the right ofa Rule 23(b)(2)


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Settlement Class Member or Rule 23(b)(2) CMPD Settlement Subclass Member to file an

individual lawsuitimder 18 U.S.C.§ 2724 or DPPA State Equivalents for actual damages sustained

before the Effective Date, subject to the waiver of the cleiss action and mass action procedural

devices described in Section 4.4.2.

               4.4.2   Waiver of Class Action and Mass Action Procedural Devices

       The Named Plaintiffs and Rule 23(b)(2) Settlement Class Members and Rule 23(b)(2)

CMPD Settlement Subclass Members waive their right to pursue any pending and/or future claims

pursuant to the DPPA or DPPA State Equivalents against the Released Parties that were or could
have been brought in the Litigation,(and that are not otherwise released and discharged by the
Settlement Agreement), using the class action procedural device or as a mass action. "Mass

action" shall mean any complaint brought on behalf of more than one class member unless the

individuals are immediate family members or their personal information appear on the Crash

Report. This waiver includes any Claims for actual damages under 18 U.S.C. § 2724, any DPPA
State Equivalents, or otherwise. The Named Plaintiffs and the Rule 23(b)(2) Settlement Class
Members and Rule 23(b)(2) CMPD Settlement Subclass Members recognize that as part of this

Settlement Agreement, Defendants are agreeing to the certification of a tentative Rule 23(b)(2)
Settlement Class and Rule 23(b)(2) CMPD Settlement Subclass, even though Defendants

expressly deny that this Litigation could be certified as a class action for trial purposes. The Named
Plaintiffs and Rule 23(b)(2) Settlement Class Members and Rule 23(b)(2) CMPD Settlement

Subclass Members further recognize that they have already availed themselves ofthe class action

procedural device once in this Litigation, and they agree that they shall not be allowed to avail
themselves ofthe class action procedural device a second time in any pending and/or future lawsuit

against the Released Parties for Claims that were or could have been brought in the Litigation(and


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that are not otherwise released and discharged by the Settlement Agreement).

               4.4.3 Waiver of California Civil Code §1542

       Rule 23(b)(2) Settlement Class Members and Rule 23(b)(2) CMPD Settlement Subclass

Members acknowledge that they are aware that they may hereafter discover facts in addition to or

different from those that they or Class Counsel now know or believe to be true with respect to the

subject matter ofthis Litigation and the Rule 23(b)(2) Settlement Class Released Claims, but it is
their intention to, and they do upon the Effective Date ofthis Settlement Agreement,fully,finally,

and forever settle and release any and all Rule 23(b)(2) Settlement Class Released Claims, without

regard to the subsequent discovery or existence of such different additional facts. Rule 23(b)(2)
Settlement Class Members and Rule 23(b)(2)CMPD Settlement Subclass Members waive any and

all rights and benefits afforded by California Civil Code § 1542, which provides as follows:
       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASED PARTY.

Rule 23(b)(2) Settlement Class Members and Rule 23(b)(2)CMPD Settlement Subclass Members
fiirther waive any and all rights and benefits afforded by South Dakota Code § 20-7-11, which
provides as follows:

        A general release does not extend to claims which the creditor does not know or
        suspect to exist in his favor at the time ofexecuting the release, which if known by
        him must have materially affected his settlement with the debtor.

Rule 23(b)(2) Settlement Class Members and Rule 23(b)(2)CMPD Settlement Subclass Members
and Class Counsel understand and acknowledge the significance ofthis waiver of California Civil

Code Section 1542, South Dakota Code Section 20-7-11, and/or any other applicable federal or

state law relating to limitations on releases.

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               4.4.4 Binding Release

        Upon the Effective Date, no default by any person in the performance of any covenant or

obligation under this Settlement Agreement or any order entered in connection therewith shall

affect the dismissal of the Litigation, the res judicata effect of the Final Judgment and Order, the

foregoing releases, or any other provision of the Final Judgment and Order; provided, however,

that all other legal and equitable remedies for violation ofa court order or breach ofthis Settlement

Agreement shall remain available to all Parties.

5.      ENTRY OF FINAL JUDGMENT AND ORDER

        The Parties shalljointly seek entry by the Court ofa Final Judgment and Order that includes

provisions:

               a)      granting final approval of this Settlement Agreement, and directing its
                       implementation pursuant to its terms and conditions;

               b)      ruling on Class Counsel's applications for service awards to Named
                       Plaintiffs, attorneys' fees, costs, and other expenses;

               c)      enjoining Defendants according to the specific terms applicable to them in
                       Section 4.2;

               d)      discharging and releasing the Released Parties, and each ofthem,from the
                       Rule 23(b)(2)Settlement Class Released Claims as provided in Section 4.4;

               e)      permanently barring and enjoining all Rule 23(b)(2) Settlement Class
                       Members and Rule 23(b)(2) CMPD Settlement Subclass Members from

                       instituting, maintaining, or prosecuting, either directly or indirectly, any

                       lawsuit that asserts Rule 23(b)(2) Settlement Class Released Claims;

               f)      permanently barring and enjoining all Rule 23(b)(2) Settlement Class
                       Members and Rule 23(b)(2) CMPD Settlement Subclass Members from
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                      seeking to use the class action and/or mass action procedural device in any

                       pending and/or future lawsuit against any Released Party that asserts Claims

                       that were or could have been brought in the Litigation and that are not

                       otherwise released and discharged by the Settlement Agreement;

               g)      directing that the Litigation be dismissed with prejudice and without costs;

               h)      stating pursuant to Fed. R. Civ.P. 54(b)that there is nojust reason for delay

                       and directing that the Final Judgment and Order is a final, appealable order;

                       and


               i)      reserving to the Court continuing and exclusive jurisdiction over the Parties
                       with respect to the Settlement Agreement and the Final Judgment and Order

                       as provided in Section 7.4.

6.      TERMINATION

        Defendants' willingness to settle this Litigation on a class-action basis and to agree to the

accompanying certification ofa tentative Rule 23(b)(2)Settlement Class and Rule 23(b)(2)CMPD
Settlement Subclass is dependent upon achieving finality in this Litigation and the desire to avoid
the expense ofthis and other litigation,except to the extent certain individual lawsuits are expressly
preserved in Section 4.4.1. Consequently, Defendants have the right to terminate this Settlement
Agreement, declare it null and void, and have no further obligations under this Settlement
Agreement to the Named Plaintiffs or to the Rule 23(b)(2) Settlement Class Members or Rule
23(b)(2) CMPD Settlement Subclass Members, if any of the following conditions subsequent
occurs:



                a)     the Parties fail to obtain and maintain preliminary approval ofthe proposed
                       settlement ofthe Rule 23(b)(2) Settlement Class Claims;



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         b)     any court requires Defendants, or any of them, to comply with obligations

                or requirements that are greater than or materially different from the

                Injunctive Relief;

         c)     any court orders the Defendants to pay, in the aggregate, service awards to

                Named Plaintiffs, attomeys' fees, costs, and other expenses in connection

                with the Litigation, in excess of $5,150,000.00 in connection with the

                settlement ofthe Rule 23(b)(2) Settlement Class and Rule 23(b)(2) CMPD

                 Settlement Subclass;

         d)     the Court fails to enter a Final Judgment and Order;

         e)     the Court fails to enter the Injunctive Relief Order in the form attached as
                 Exhibit A to this Settlement Agreement;

         f)      the settlement of the Rule 23(b)(2) Settlement Class and Rule 23(b)(2)
                 CMPD Settlement Subclass Claims are not upheld on appeal, including

                 review by the United States Supreme Court;

         g)      the Effective Date does not occur for any reason, including but not limited
                 to the entry of an order by any court that would require either material

                 modification or termination ofthe Settlement Agreement; or

          h)     the Defendants' insurer or insurers refuse to or otherwise fail to f\md in full
                 the Rule 23(b)(2) Settlement Class Attorneys' Fees, subject to the

                 exhaustion ofthe self-insured retention, ifthe Defendants give notice ofthe

                 termination of this Settlement Agreement within ten (10) days after the

                 deadline for funding.

   The failure of the Court or any appellate court to approve in full the request by Class


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Counsel for attorneys'fees,costs,and other expenses shall not be grounds for the Named Plaintiffs,

the Rule 23(b)(2) Settlement Class, the Rule 23(b)(2) CMPD Settlement Subclass, or Class

Counsel to cancel or terminate this Settlement Agreement. The failure of the Court or any

appellate court to approve in full the request of any Named Plaintiff for his or her Service Award
shall not be grounds for the Named Plaintiffs,the Rule 23(b)(2)Settlement Class,the Rule 23(b)(2)
CMPD Settlement Subclass, or Class Coimsel to cancel or terminate this Settlement Agreement.

        Ifthe Settlement Agreement is not finally approved,is not upheld on appeal,or is otherwise

terminated for any reason before the Effective Date, then the Rule 23(b)(2) Settlement Class and
Rule 23(b)(2) CMPD Settlement Subclass shall be decertified; the Settlement Agreement and all
negotiations, proceedings,and documents prepared,and statements made in connection therewith,
shall be without prejudice to any Party and shall not be deemed or construed to be an admission
or confession by any Party of any fact, matter, or proposition oflaw; and all Parties shall stand in
the same procedural position as if the Settlement Agreement had not been negotiated, made, or
filed with the Court; and the Parties shall be permitted to pursue their respective appeals to the
United States Court of Appeals for the Fourth Circuit.

7.      MISCELLANEOUS PROVISIONS

        7.1     Best Efforts to Obtain Court Approval

        Named Plaintiffs and Defendants, and the Parties' counsel, agree to use their best efforts

to obtain Court approval ofthis Settlement Agreement,subject, however,to Defendants' rights to
terminate the Settlement Agreement, as provided herein.

        7.2     No Admission

        This Settlement Agreement, whether or not it shall become final, and any and all
negotiations, communications, and discussions associated with it, shall not be:


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         a)   offered or received by or against any Party as evidence of, or be construed

              as or deemed to be evidence of, any presumption, concession, or admission

              by a Party of the truth of any fact alleged by Named Plaintiffs or defense

              asserted by Defendants, ofthe validity of any Claim that has been or could

              have been asserted in the Litigation, or the deficiency of any defense that

               has been or could have been asserted in the Litigation, or of any liability,

               negligence, fault, or wrongdoing on the part of Named Plaintiffs or

               Defendants;

         b)    offered or received by or against Named Plaintiffs or Defendants as a
               presumption, concession, admission, or evidence of any violation of the

               DPPA or DPPA State Equivalents, or any state or federal statute, law, rule,

               or regulation or ofany liability or wrongdoing by Defendants,or ofthe truth
               ofany ofthe Claims,and evidence thereofshall not be directly or indirectly,
               in any way,(whether in the Litigation or in any other action or proceeding),
               except for purposes of enforcing this Settlement Agreement and the Final
               Judgment and Order including, without limitation,asserting as a defense the
               release and waivers provided herein;

         c)    offered or received by or against Named Plaintiffs or Defendants as
               evidence of a presumption, concession, or admission with respect to a

               decision by any court regarding the certification of a class, or for purposes

               of proving any liability, negligence, fault, or wrongdoing, or in any way
               referred to for any other reason as against Defendants, in any other civil,

               criminal, or administrative action or proceeding, other than such


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                      proceedings as may be necessary to effectuate the provisions of this

                      Settlement Agreement; provided, however, that if this Settlement

                      Agreement is approved by the Court, then Named Plaintiffs or Defendants

                      may refer to it to enforce their rights hereunder; or

              d)      construed as an admission or concession by Named Plaintiffs, the Rule

                      23(b)(2) Settlement Class, the Rule 23(b)(2) CMPD Settlement Subclass,

                      or Defendants that the consideration to be given hereunder represents the

                      reliefthat could or would have been obtained through trial in the Litigation.

       These prohibitions on the use of this Settlement Agreement shall extend to, but are not

limited to, any individual lawsuit for actual damages preserved from release in Section 4.4.1.
       7.3     Process for Resolution of Disputes Regarding Compliance with Settlement

               Agreement

       If any Settlement Class Member has a claim or dispute regarding Defendants' compliance
with the Settlement Agreement,including but not limited to the Injunctive Relief provisions,then
such Settlement Class Member first must submit, pro se or through counsel, his or her dispute

directly to Defendants before taking any other action. Upon receipt ofsuch a dispute. Defendants
will investigate the dispute and respond to the Settlement Class Member within thirty (30)days.
Defendants' response must state the results of Defendants' investigation ofthe allegation of non-
compliance with the Settlement Agreement and any action taken or to be taken to address the
Settlement Class Member's dispute; or, if additional information is required for Defendants to

complete their investigation. Defendants' response must identify the specific additional
information that is required. Upon the submission to Defendants of all the additional information
required (as set forth in Defendants' response). Defendants will have thirty(30)days to complete


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their investigation of the Settlement Class Member's dispute regarding the allegation of non-

compliance with the Settlement agreement and to provide a response containing the results of its

investigation and any action taken or to be taken to address the dispute.

       Within thirty (30) days after the dispute resolution process described above has been

completed, the Settlement Class Member may submit his or her dispute regarding the allegation

of non-compliance with the Settlement Agreement to the Court under the caption for this

Litigation. The Settlement Class Member's submissions to the Court must include copies of all
correspondence between the Settlement Class Member and Defendants regarding the dispute prior

to the submission. The Court shall have exclusive and sole jurisdiction to resolve the dispute.

       This section is not intended to govern or apply to allegations of a violation of state or

federal law, such as the DPPA,except as might otherwise relate to Defendants' compliance with

this Settlement Agreement.

       7.4     Court's Jurisdiction

        The Court shall retain jurisdiction with respect to implementation and enforcement of the

terms of the Settlement Agreement. The Court also shall retain exclusive jurisdiction over any

subsequent claim against any Defendant subject to the dispute process described in Section 7.3 or
whether any subsequent suit is released by the Settlement Agreement. Any such subsequent suit
against any Defendant necessarily raises the threshold issue of whether the plaintiff in such suit is
a member of the Rule 23(b)(2) Settlement Class or Rule 23(b)(2) CMPD Settlement Subclass in

this Litigation such that his or her subsequent suit is prohibited under the terms ofthis Settlement
Agreement.

        7.5    Settlement Notices

        All notices or formal communications under this Settlement Agreement shall be in writing


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and shall be given(i) by hand delivery;(ii) by registered or certified mail,return receipt requested,

postage pre-paid; or (iii) by overnight courier to counsel for the Party to whom notice is directed

at the following addresses:

       For the Named Plaintiffs and Rule 23(b)(2) Settlement Class and Rule 23(b)(2)CMPD
Settlement Subclass:



       David M. Wilkerson
       Larry S. McDevitt
       The Van Winkle Law Firm
       P.O. Box 7376
        Asheville,NC 28802
        And
        UN.Market Street
        Asheville, NC 28801

        Eugene C. Covington, Jr.
        Eugene C. Covington, Jr. P.A.
        11 Pettigru Street
        Greenviille, SC 29601

        Christopher L. Cogdill
        Christopher L. Cogdill P.A.
        1318 Haywood Road, Bid E
        Greenville, SC 29615


        For Defendants:

        Ronald I. Raether, Jr.
        Troutman Pepper Hamilton Sanders LLP
        5 Park Plaza, Suite 1400
        Irvine, CA 92614

        William Min
        Executive Vice President and General Counsel, LexisNexis Risk Solutions
        1000 Alderman Drive
        Alpharetta, GA 30005

        Counsel may designate a change of the person to receive notice or a change of address,

from time to time, by giving notice to all Parties in the manner described in this Section.


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       7.6     Administrative Costs

       Except as provided in Section 4.3.2 regarding Service Awards to Named Plaintiffs, and

Section 4.3.1 regarding attorneys' fees, costs, and other expenses as to the Rule 23(b)(2)

Settlement Class and Rule 23(b)(2) CMPD Settlement Subclass, each ofthe Named Plaintiffs and

the Defendants shall be solely responsible for his, her, or its own costs and expenses.

       7.7     Taxes


       Named Plaintiffs and Class Counsel shall be responsible for paying any and all federal,

state, and local taxes due on any payments made to them pursuant to the Settlement Agreement.

       7.8     Defendants' Communication with Customers, Business Contacts, and

               Members of the Public


       Defendants reserve the right to communicate with their customers, business contacts, and

members ofthe public in the ordinary course of business.

       7.9     Class Counsel's Representations

        To the maximum extent permissible. Class Counsel agrees that up through and including
November 1,2027 it will be a conflict for them to represent consumers in claims against Released

Parties on the theories advanced in Plaintiffs' Amended Complaint, and they will not solicit such

consumers or cooperate in suits by others prior to that date.

        7.10   Confidentiality of Discovery Materials and Information

        The Parties, their counsel,and any experts in this Litigation, agree that they remain subject

to the Court's September 25,2018 Stipulated Protective Order.

        7.11   Complete Agreement

        This Settlement Agreement is the entire, complete agreement of each and every term

agreed to by and among Named Plaintiffs, the Rule 23(b)(2) Settlement Class, the Rule 23(b)(2)


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CMPD Settlement Subclass, Defendants, and their counsel. In entering into this Settlement

Agreement,no Party has made or relied on any warranty or representation not specifically set forth

herein. This Settlement Agreement shall not be modified except by a writing executed by all the

Parties.


       7.12       Headings for Convenience Only

       The headings in this Settlement Agreement are for the convenience ofthe reader only and

shall not affect the meaning or interpretation ofthis Settlement Agreement.

       7.13       Severability

       In the event that any provision hereof becomes or is declared by a court of competent

jurisdiction to be illegal, unenforceable, or void, this Settlement Agreement shall continue in full
force and effect without said provision to the extent Defendants do not exercise their right to
terminate under Section 6.

           7.14   No Party Is the Drafter

           None of the Parties to this Settlement Agreement shall be considered to be the primary

drafter of this Settlement Agreement or any provision hereof for the purpose of any rule of
interpretation or construction that might cause any provision to be construed against the drafter.
           7.15   Binding Effect

           This Settlement Agreement shall be binding according to its terms upon, and inure to the
benefit of, the Named Plaintiffs, the Rule 23(b)(2) Settlement Class, the Rule 23(b)(2) CMPD
Settlement Subclass, the Defendants, the Released Parties, and their respective successors and

assigns.

           7.16   Authorization to Enter Settlement Agreement

           The individuals signing this Settlement Agreement on behalf of the Defendants represent


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that they are fully authorized by the Defendants to enter into, and to execute, this Settlement

Agreement on their behalf. Class Counsel represent that they are hilly authorized to conduct

settlement negotiations with counsel for Defendants on behalf of Named Plaintiffs, and to enter

into, and to execute, this Settlement Agreement on behalf of the Rule 23(b)(2) Settlement Class

and the Rule 23(b)(2) CMPD Settlement Subclass, subject to Court approval pursuant to Fed. R.

Civ. P. 23(e). Each Named Plaintiff enters into and executes this Settlement Agreement on behalf
ofhimselfor herself, and as a representative ofand on behalfofthe Rule 23(b)(2)Settlement Class

and the Rule 23(b)(2) CMPD Settlement Subclass, subject to Court approval pursuant to Fed. R.

Civ. P. 23(e).

       7.17      Execution in Counterparts

       Named Plaintiffs, Class Counsel, Defendants, and Defendants' counsel may execute this

Settlement Agreement in counterparts,and the execution ofcounterparts shall have the same effect
as if all Parties had signed the same instrument. Facsimile and scanned signatures shall be
considered as valid signatures as of the date signed, although the original signature pages shall
thereafter be appended to the Settlement Agreement. This Settlement Agreement shall not be
deemed executed until signed by all Named Plaintiffs, by all Class Counsel, and by counsel for
and representatives of Defendants.

       7.18      No Preclusive Effect

        The Parties agree that this Settlement Agreement, and the final judgment following from
the Settlement Agreement, will not prejudice in any way the Parties' right to raise any of the
arguments that the Parties made in this case, including arguments decided by the district court in
its interlocutory order of September 2,2020,in any future litigation.



[Signatures on thefollowing pcige\
                                               -32-

   Case 5:16-cv-00009-KDB-DCK Document 163-1 Filed 11/03/20 Page 36 of 54
Dated:         3) ,2020          PLAINTIFF DELORIS GASTON




                                          ORIS GASTON




Dated: ^cfot>fr 3) ,2020          PLAINTIFF LEONARD GASTON


                                  BY:*^
                                     LEONARD GASTON




Dated:             ,2020          LEXISNEXIS RISK SOLUTIONS INC.




                                  By:

                                  NAME:


                                  POSITION:




Dated:             ,2020          POLICEREPORTS.US,LLC




                                  By:

                                  NAME:

                                  POSITION:




                                  -33-


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Dated:              ^2020         PLAINTIFF DELORIS GASTON




                                  By:
                                        DELORIS GASTON




Dated:              ^2020         PLAINTIFF LEONARD GASTON




                                  By:
                                    LEONARD GASTON




Dated; November 2                 LEXISNEXIS RISK SOLUTIONS INC.




                                  NAME^^iUiam^Madison
                                  POSfoONtyExeGUtive Vice President


Dated: November 2    2020         POLICEREPORTS.US,LLC




                                           William/S. Madison

                                  POSITION: Executive Vice President




                                 -33-


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Dated: November 2   ^ 2020         LEXISNEXIS CLAIMS SOLUTIONS INC.




                                                     ZP'

                                   NAME/ William S>^adison

                                   POSITION: Executive Vice President



Dated: November 2    2020          LEXISNEXIS COPLOGIC SOLUTIONS INC.




                                   NAM^ William.^. Madison
                                   POSn rON: Executive Vice President



Dated;      v»~      2020          THE VAN WINKLE LAW FIRM




                                   By:
                                         David Wilkerson



                                   Attorneys for Plaintiffs


Dated: November 2    2020          TROUTMAN PEPPER HAMILTON SANDERS
                                   LLP




                                   By:
                                         Ronald I. Raether, Jr.

                                   Attorney for Defendants




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                        EXHIBIT A




Case 5:16-cv-00009-KDB-DCK Document 163-1 Filed 11/03/20 Page 40 of 54
                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                                  Statesville Division
                            Civil Action No. 5:16-cv-9 -KDB-DCK


DELORIS GASTON, et al.,                              )
                                                     )
        Plaintiffs,                                  )
                                                     )
v.                                                   )
                                                     )
LEXISNEXIS RISK SOLUTIONS INC., et al.               )     INJUNCTIVE RELIEF ORDER
                                                     )
                                                     )
        Defendants.                                  )



        This day, the Court entered its Final Order granting the Motion for Final Approval of Class

Action Settlement (Dkt. No. ___). Pursuant to that Order and Section [INSERT] of the Settlement

Agreement and Release, dated ________ (the “Settlement Agreement”), the Court enters this

Injunctive Relief Order and hereby orders that Defendants comply with the following:

        1.     For purposes of this Injunctive Relief Order, the Court adopts and incorporates the

definitions and meanings of the defined terms set forth in the Settlement Agreement. The terms

of this Injunctive Relief Order are intended to reflect the Injunctive Relief provisions in the

Settlement Agreement and shall not be construed to impose any obligations or requirements in

addition to those set forth in the Settlement Agreement.

        2.     IMPLEMENTATION OF CHANGES TO PROHIBIT THE USE OF CRASH

REPORTS PURCHASED ON THE ECOMMERCE WEB PORTAL FOR MARKETING AND

SOLICITATION USES

        Defendants will: (a) incorporate an express prohibition on marketing and solicitation uses

in the End User License Agreement on the eCommerce Web Portal; (b) incorporate an express




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prohibition on marketing and solicitation in commercial user agreements on the eCommerce Web

Portal; and (c) add a user confirmation for no marketing and solicitation use before a Crash Report

is purchased on the eCommerce Web Portal.

          3.     ELIMINATE THE MONTHLY SUBSCRIPTION SERVICE

          Defendants will eliminate the Monthly Subscription Service on the eCommerce Web

Portal.

          4.     LIMIT THE DISCLOSURE

          Crash Reports will only be disclosed by Defendants if one of the following three conditions

are met:

                 4.1     Defendants have redacted the following information (to the extent such

information is included in a Crash Report): an individual’s photograph, social security number,

driver’s license number, first name, address (but not the 5-digit zip code), telephone number, and

medical or disability information (hereinafter, the “Personal Information”); OR

                 4.2     Defendants have obtained the consent of the person whose Personal

Information appears on the Crash Report; OR

                 4.3     The Crash Report is being disclosed to an “authorized recipient” as

permitted by 18 U.S. Code § 2721(c) or for one of the following permissible uses as set out in 18

U.S. Code § 2721(b)(1):

                 4.3(a) For use by any government agency, including any court or law enforcement

          agency, in carrying out its functions, or any private person or entity acting on behalf of a

          Federal, State, or local agency in carrying out its functions.

                 4.3(b) For use in connection with matters of motor vehicle or driver safety and

          theft; motor vehicle emissions; motor vehicle product alterations, recalls, or advisories;



                                                    2

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   performance monitoring of motor vehicles, motor vehicle parts and dealers; motor vehicle

   market research activities, including survey research; and removal of non-owner records

   from the original owner records of motor vehicle manufacturers.

           4.3(c) For use in the normal course of business by a legitimate business or its

   agents, employees, or contractors, but only – (A) to verify the accuracy of personal

   information submitted by the individual to the business or its agents, employees, or

   contractors; and (B) if such information as so submitted is not correct or is no longer

   correct, to obtain the correct information, but only for the purposes of preventing fraud by,

   pursuing legal remedies against, or recovering on a debt or security interest against, the

   individual.

           4.3(d) For use in connection with any civil, criminal, administrative, or arbitral

   proceeding in any Federal, State, or local court or agency or before any self-regulatory

   body, including the service of process, investigation in anticipation of litigation, and the

   execution or enforcement of judgments and orders, or pursuant to an order of a Federal,

   State, or local court.

           4.3(e) For use in research activities, and for use in producing statistical reports, so

   long as the personal information is not published, redisclosed, or used to contact

   individuals.

           4.3(f) For use by any insurer or insurance support organization, or by a self-

   insured entity, or its agents, employees, or contractors, in connection with claims

   investigation activities, antifraud activities, rating or underwriting.

           4.3(g) For use in providing notice to the owners of towed or impounded vehicles.




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               4.3(h) For use by any licensed private investigative agency or licensed security

       service for any purpose permitted under this subsection.

               4.3(i) For use by an employer or its agent or insurer to obtain or verify information

       relating to a holder of a commercial driver’s license that is required under chapter 313 of

       title 49.

               4.3(j) For use in connection with the operation of private toll transportation

       facilities.

               4.3(k) For any other use in response to requests for individual motor vehicle

       records if the State has obtained the express consent of the person to whom such personal

       information pertains.

               4.3(l) For bulk distribution for surveys, marketing or solicitations if the State has

obtained the express consent of the person to whom such personal information pertains.

               4.3(m) For use by any requester, if the requester demonstrates it has obtained the

written consent of the individual to whom the information pertains.

               4.3(n) For any other use specifically authorized under the law of the State that

holds the record, if such use is related to the operation of a motor vehicle or public safety.

       Defendants may paraphrase the permissible uses defined in Section 4.3(a)–(n) to the extent

it is technologically necessary on the eCommerce Web Portal as long as it does not substantially

change the meaning.

       If Defendants disclose a Crash Report for one of the permissible uses under the DPPA (as

defined in Section 4.3(a)–(n)), Defendants will meet any obligation to have a “good faith belief”

that the Crash Report will be used for a specific purpose permitted by the DPPA through the

following means:



                                                  4

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       (a) With respect to Involved Parties, Defendants will require Involved Parties to affirm

their anticipated use as defined in Section 4.3 before purchasing a Crash Report on the eCommerce

Web Portal. Additionally, Defendants will require Involved Parties to enter one of the following

sets of search criteria to search for a Crash Report on the eCommerce Web Portal:

          i.   State and jurisdiction and one of the following: Report number; last name and date

               of incident; last name and street;

         ii.   State and jurisdiction and at least two of the following: Last name, date of incident,

               street; or

        iii.   State, jurisdiction, report number and one of the following: name (first, last) and

               date of incident; name (first, last) and street.

       A law enforcement agency may require that Defendants impose additional search criteria

for Involved Parties to search for a Crash Report.

       (b) With respect to Commercial Users, Defendants will:

          i.   Require submission of an application and agreement, including, but not limited to,

               the purpose of use;

         ii.   Implement a process to review Commercial Users’ stated purpose of the use; and

        iii.   Reject any application and agreement in which the stated purpose of use references

               marketing or solicitation or any other use not permitted by 18 U.S.

               Code § 2721(b)(1).




                                                    5

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       5.       LOG THE USERS’ USE SELECTION

       Defendants must keep for a period of 5 years records identifying each person or entity that

receives a Crash Report on the eCommerce web portal and the purpose for which the Crash Report

will be used.

       6.       IMPLEMENT EMPLOYEE EDUCATION AND TRAINING

       Employees who work with Crash Reports on the eCommerce Web Portal will be required

to participate in annual training regarding the requirements of the Injunctive Relief and the DPPA.

Defendants shall keep records of such training.

       7.       TIMETABLE FOR IMPLEMENTATION OF INJUNCTIVE RELIEF

                7.1   With respect to the Rule 23(b)(2) CMPD Settlement Subclass, Defendants

will implement the Injunctive Relief defined in Sections 4 and 5 above within thirty (30) days of

the Effective Date.

                7.2   With respect to the Rule 23(b)(2) CMPD Settlement Subclass, Defendants

will implement the Injunctive Relief defined in Sections 2 and 3 above within three months of the

Effective Date.

                7.3   With respect to the Rule 23(b)(2) Settlement Class, Defendants will

implement the Injunctive Relief defined in Sections 2 through 6 above within twelve months of

the Effective Date.

                7.4   Notwithstanding Sections 7.1-7.3, if Defendants are unable to comply with

these deadlines, Defendants shall receive a reasonable extension of time sufficient to permit

completion of the task upon submission of an application to the Court showing good cause for the

extension.




                                                  6

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       8.      SUNSET PROVISION: With respect to the Rule 23(b)(2) Settlement Class, the

obligations of Sections 2-6 of the Injunctive Relief Order will expire the earlier of seven years

from the Effective Date or May 1, 2027 (“Sunset Date”). With respect to the Rule 23(b)(2) CMPD

Settlement Subclass, any relief from the obligations of Sections 2-6 of the Injunctive Relief Order

must be obtained from this Court pursuant to Section 11 of this Order.

       9.      DISPUTE RESOLUTION PROCESS

               9.1     If any Settlement Class Member has a claim or dispute regarding

Defendants’ compliance with the Settlement Agreement, including but not limited to the Injunctive

Relief provisions, then such Settlement Class Member first must submit, pro se or through counsel,

his or her dispute directly to Defendants before taking any other action. Upon receipt of such a

dispute, Defendants will investigate the dispute and respond to the Settlement Class Member

within thirty (30) days. Defendants’ response must state the results of Defendants’ investigation

of the allegation of non-compliance with the Settlement Agreement and any action taken or to be

taken to address the Settlement Class Member’s dispute; or, if additional information is required

for Defendants to complete their investigation, Defendants’ response must identify the specific

additional information that is required. Upon the submission of all the additional information

required (as set forth in Defendants’ response), Defendants will have thirty (30) days to complete

their investigation of the Settlement Class Member’s dispute regarding the allegation of non-

compliance with the Settlement agreement and to provide a response containing the results of its

investigation and any action taken or to be taken to address the dispute.

               9.2     Within thirty (30) days after the dispute resolution process described above

has been completed, the Settlement Class Member may submit his or her dispute regarding the

allegation of non-compliance with the Settlement Agreement to the Court under the caption for



                                                 7

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this Litigation. The Settlement Class Member’s submissions to the Court must include copies of

all correspondence between the Settlement Class Member and Defendants regarding the dispute

prior to the submission. The Court shall have exclusive and sole jurisdiction to resolve the dispute.

       10.     Any action by Defendants determined in good faith to be reasonably necessary to

comply with any federal law, enactment, regulation, or judicial ruling shall not constitute a breach

of the Settlement Agreement. In the event that any obligation that Defendants have agreed to

undertake as part of the Injunctive Relief becomes inconsistent with any future federal, state, or

local law, enactment, regulation, or judicial ruling or if the Rule 23(b)(2) Settlement Class or Rule

23(b)(2) CMPD Settlement Subclass (or any subset) agree to impose less stringent requirements

on any competitor of Defendants, then Defendants shall be released from performing such

obligation after notice to the Court and Class Counsel. Any objection to such change in procedure

shall be made to the Court by Class Counsel within ten (10) days after receipt of such notice.

       11.     The Court reserves continuing and exclusive jurisdiction over the parties with

respect to all matters relating to this Injunctive Relief Order, including its administration,

interpretation, effectuation, and enforcement of its provisions pursuant to the dispute resolution

process in section 9 above. None of the parties, including any Rule 23(b)(2) Settlement Class

Member or Rule 23(b)(2) Settlement Subclass Member, shall be entitled to the recovery of

attorney’s fees, costs or other expenses in connection with any efforts to monitor compliance with

this Injunctive Relief Order.

       Let the Clerk send a copy of this Order to all counsel of record.

It is SO ORDERED.
                                                      Signed:

                                                      ______________________
                                                      Kenneth D. Bell
                                                      United States District Judge

                                                 8

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                        EXHIBIT B




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                               [INSERT DATE]


Via Overnight Delivery

The United States Attorney General and All
State Attorneys General Identified on the
Attached Service List


             Re:     Notice Pursuant to the Class Action Fairness Act of 2005 in
                     connection with Deloris Gaston, et al. v. LexisNexis Risk Solutions
                     Inc., et al., Case No. 5:16-cv-9 (W.D.N.C.)

Dear Sir or Madam:

        On behalf of LexisNexis Risk Solutions Inc., PoliceReports.US, LLC, LexisNexis
Claims Solutions Inc., and LexisNexis Coplogic Solutions Inc. (collectively,
“Defendants”), and in accordance with the requirements of the Class Action Fairness Act
of 2005, see 28 U.S.C. § 1715(b), this letter provides notice of a proposed settlement of
the putative class action captioned, Deloris Gaston, et al. v. LexisNexis Risk Solutions
Inc., et al., Case No. 5:16-cv-9 (W.D.N.C.).

       Section 1715 requires defendants participating in a proposed class action
settlement to serve upon appropriate federal and state officials a notice containing
information responsive to eight items enumerated in the statute. Defendants’ responses
to each of these items are below. Also enclosed is a CD containing documents relating to
the settlement, as required by Section 1715. If you have any difficulty accessing any of
the documents on the enclosed CD, please contact the undersigned.

Item 1:      A copy of the complaint, any materials filed with the complaint, and any
             amended complaints. 28 U.S.C. § 1715(b)(1).

       Mrs. Deloris Gaston and Mr. Leonard Gaston filed the Class Action Complaint on
January 12, 2016, a copy of which is included on the enclosed CD. Plaintiffs did not
attach any materials to the Class Action Complaint. On May 12, 2016, Plaintiffs filed the
Class Action Amended Complaint, a copy of which is also included on the enclosed CD.
Plaintiffs attached three copies of accident reports to the Class Action Amended
Complaint, which are also included on the enclosed CD.




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[INSERT DATE]
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Item 2:       Notice of any scheduled judicial hearing in the class action. 28 U.S.C. §
              1715(b)(2).

       There are currently no scheduled judicial hearings.

Items 3 and 4:     Any proposed or final notification to the class members. 28 U.S.C. §
             1715(b)(3); any proposed or final class action settlement. 28 U.S.C. §
             1715(b)(4).

       The parties have executed a Settlement Agreement and Release, which constitutes
the proposed class action settlement. A copy of the agreement is enclosed with this letter
as Exhibit A. On [INSERT DATE], the parties filed the Joint Motion for Preliminary
Approval of Proposed Settlement (the “Joint Motion”). The Joint Motion explains the
history of the litigation and summarizes the terms of the settlement. A copy of the Joint
Motion is enclosed as Exhibit B. The Joint Motion and all of its Exhibits are included on
the enclosed CD.

       The Parties’ motion seeks approval of an injunctive relief settlement pursuant to
Rule 23(b)(2). Class notice is not required for a class certified pursuant to Rule 23(b)(2)
and based on the nature of the injunctive relief provided in the Settlement Agreement, the
parties have agreed that class notice is unnecessary here and the Court has yet to rule on
the issue.

Item 5:      Any settlement or other agreement contemporaneously made between class
counsel and counsel for the defendant. 28 U.S.C. § 1715(b)(5).

       The parties have executed an individual settlement agreement and release, which
constitutes the settlement of the plaintiffs’ individual claims. A copy of the agreement is
enclosed with this letter as Exhibit C.

Item 6:      Any final judgment or notice of dismissal. 28 U.S.C. § 1715(b)(6).

      No final judgment or notice of dismissal has yet been entered.

Item 7:      Either (i) the names of class members who reside in each State and
             estimated proportionate share of such members to the entire settlement; or,
             (ii) if not feasible, a reasonable estimate of the number of class members
             residing in each State and estimated proportionate share of such members
             to the entire settlement. 28 U.S.C. § 1715(b)(7)(A)-(B).

       It is not feasible at this time to provide the names of all class members who reside
in each state. The Rule 23(b)(2) Settlement Class includes every individual nationwide



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who has had his or her personal identifying information listed on a crash report regardless
of the source of the information and the Rule 23(b)(2) CMPD Settlement Subclass
includes all persons in the Rule 23(b)(2) Settlement Class whose crash report was
prepared by the Charlotte-Mecklenburg Police Department.

Item 8:       Any written judicial opinions relating to subparagraphs (3) through (6)
              under § 1715. 28 U.S.C. § 1715(b)(8).

       The Court has not entered an order or opinion relating to the Joint Motion or any
of the matters referenced in Items 3 through 6 above.

                              *             *             *

      The table below provides an index of the materials that we have included on the
enclosed CD.

       Description

1.     Class Action Complaint filed January 12, 2016

2.     Class Action Amended Complaint filed May 12, 2016

3.     Joint Motion for Preliminary Approval of Proposed Settlement

4.     Exhibit 1 to Joint Motion -- Settlement Agreement and Release and accompanying
       exhibits

5.     Exhibit 2 to Joint Motion – Proposed Preliminary Approval Order

6.     Individual Settlement Agreement and Release




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                                     Sincerely,




                                     [Name]
                                     [Title]
                                     [Company]
                                     Providing Notification as Gaston Settlement
                                     Administrator On Behalf of Defendants
                                     LexisNexis Risk Solutions Inc. and
                                     PoliceReports.US, LLC.

Enclosures (CD)


cc:           Christopher L. Cogdill, Esq.
              David M. Wilkerson, Esq.
              Eugene Clark Covington, Jr., Esq.
              Larry S. McDevitt, Esq.
              Cindy D. Hanson, Esq.
              Dennis Kyle Deak, Esq.
              Julie Diane Hoffmeister, Esq.
              Ronald I. Raether, Jr., Esq.
              Joshua Davey, Esq.




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[INSERT DATE]
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             EXHIBIT A TO CAFA NOTICE OF [INSERT DATE]
                                     [List TBA]




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